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                                                                                                                                                                                                  Clear Form


  UNITED STATES DISTRICT COURT                                                                           TRANSCRIPT ORDER                                                                        COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                Please use one form per court reporter.                                                             DUE DATE:
                  CAND 435                                                                        CJA counsel please use Form CJA24
              (CAND Rev. /2013)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                   3a. CONTACT EMAIL ADDRESS
       Dalia Hill                                                                        (415) 954-0209                                                             dalia.hill@squiresanders.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                                  3b. ATTORNEY EMAIL ADDRESS
       Mark C. Dosker                                                                    (415) 954-0210                                                             mark.dosker@squiresanders.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                   5. CASE NAME                                                                            6. CASE NUMBER
Squire Sanders (US) LLP                                                                                      MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust Litigation                        C 07-05944 SC
275 Battery Street, Suite 2600
San Francisco, CA 94111                                                                                     8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐ FTR                                         ❐ APPEAL             ❐ CRIMINAL      ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                            ❐ NON-APPEAL         ✔ CIVIL
                                                                                                                                 ❐                CJA: Do not use this form; use Form CJA24
Belle Ball
9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                        b.             SELECT FORMAT(S) (NOTE: ECF access is included         c.         DELIVERY TYPE ( Choose one per line)
                                                                                                        with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE            TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS   ORDINARY      14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,        (email)        (email)                   (email)      (web)      (30-day)               (7-day)      (Next day)    (2 hrs)
                      (initials)   (e.g. CMC)   specify portion (e.g. witness or time)

 9/13/13               SC             SC         Full Hearing                                  ●
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:
 This is for a status conference hearing.

ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                            12. DATE

11. SIGNATURE
                    /s/ Mark C. Dosker                                                                                                                                          09/16/2013

DISTRIBUTION:                                ❐ COURT COPY                                               ❐ TRANSCRIPTION COPY                               ❐ ORDER RECEIPT                               ❐ ORDER COPY
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 CAND 435
 (Rev. 06/13)                                                                         INSTRUCTIONS


 Use this form to order the transcription of proceedings. CJA counsel should use Form CJA24. Before completing this form, please visit cand.uscourts.gov/transcripts for complete
 transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
      1.       Complete a separate order form for each case number for which transcripts are ordered.
      2.       Complete a separate order form for each court reporter who reported proceedings in the case.
      3.       Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.       E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
               In such cases, mail or hand-deliver a hard copy addressed to the court reporter c/o the Clerk’s Office at the Court division where the proceeding was held.
      5.       Email the court reporter (email list available at cand.uscourts.gov/courtreportercontact) promptly after this Transcript Order Form is e-filed to obtain the amount of
               the required deposit. Deliver payment to the court reporter promptly. Upon receipt of the deposit, the court reporter will begin work on the transcript. Exceptions:
               (a) orders for FTR transcripts and (b) daily trial transcript orders.
      6.       Unless prepayment is waived, delivery time is computed from the date the court reporter receives the deposit, authorized CJA 24 Form, authorization from Federal
               Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      7.       The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                           ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
 Items 1-3      In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
 Items 5-6.     Only one case number may be listed per order.
 Item 7.        Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was
                audiorecorded. If minutes have not been filed, contact judge’s courtroom deputy.
 Item 8.        Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing transcripts is required before transcripts may be
                ordered in forma pauperis.
 Item 9a.       List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
tem 9b.         Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcriptrates for details. Unlock ECF/web
                access is included at no extra charge with each of the other formats.
 Item 9c.       There are 6 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                the 14-day delivery rate would be charged.
                  TRANSCRIPT DELIVERY TIMES:
                  ORDINARY ─ 30 calendar days.
                  14-DAY ─ 14 calendar days.
                  EXPEDITED ─ 7 calendar days.
                  DAILY (NEXT DAY) ─ Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
                  HOURLY (SAME DAY) ─ within two (2) hours.
                  REALTIME ─ A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
                  proceedings or immediately following adjournment.
 Item 11.       Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
 Item 12.       Enter the date of signing the order and certification.
